                                        KANAWHA                                    PAGE
    CASE          18-C-383

     JULIA E. BLACKWOOD                           vs. BERRY DUNN, LLC



     LINE          DATE      ACTION
                                                                                            $230.
           1   03/16/18       #   CASE INFO SHEET; COMPLAINT; F FEE; RCPT 559938 & 559939;
           2                  #   MOT TO F COMPLAINT UNDER SEAL
           3   07/13/18       #   ISSUED SUM & 1 CPY AS TO NICOLE BECNEL; RULE 4 NOT MAILED
           4                  #   TO D BY 1ST CLASS MAIL
           5   07/13/18       #   CASE INFO SHEET
           6   08/01/18       #   RULE 4 NOT & ACKNOWLEDGMENT OF RECEIPT OF SUM & C BY 1ST
           7                  #   CLASS MAIL (S 7/31/18 SP) AS TO NICOLE BECNEL




 MurribemNm5118




           nn
                                                                                                    Case 2:18-cv-01216 Document 1-3 Filed 08/08/18 Page 1 of 22 PageID #: 33




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      Case 2:18-cv-01216 Document 1-3 Filed 08/08/18 Page 2 of 22 PageID #: 34


                            CIVIL CASE INFORMATION STATEMENT
                                        CIVIL CASES
                                   (Other than Domestic Relations)

In the Circuit Court, KANAWHA                                         County, West Virginia



I. CASE STYLE:

Plaintiff(s)

J ULIA E. BLACKWOOD                                    Judge:        LJe‘as+--c
1503 HUNTER DRIVE

CHARLESTON, WV 25311

VS.
                                                          Days to
Defendant(s)BERRY DUNN, LLC                               Answer     Type of Service

Corporation Service Company
      Street
Charleston, WV 25302
      City, State, Zip


NICOLE Y. BECNEL

16 Cactus Lane
      Street
Hurricane, WV 25326
      City, State, Zip

JANE DOE(S)


        Street

        City, State, Zip




        Street

         City, State, Zip

Original and 2              copies of complaint enclosed/attached.     P YMT T pc
                                                                       Rept #                      $204135
SCA-C100.02 / 1 of 2                                                   Iss.     .     cc    _No Sum. Iss
                                                                          Rct. to Atty.        $20cm X
                                                                          M ailed CM/RM _$5 ells X
                                                                          M ailed to sos Wail
                                                                          Sent to          wickil        15 mdf X 2

                                                                                                te*ffiGt
                   Case 2:18-cv-01216 Document 1-3 Filed 08/08/18 Page 3 of 22 PageID #: 35



     Pi.AINTIFFT              , „„                                                                 CASE NUMBER:        Kc           e3
     DEFENDANT:lit KI-CT DUN N,



n.          OF CASE:
                                                                                                                              o
       21   General Civil                                                O Adoption

       ID    Mass Litigation                                            O Administrative Agency Appeal
            (As defined in T.C.R. Rule XIX (c)
                                                                        El   Civil Appeal from Magistrate Court
            0000E0E1




                       Asbestos
                       Carpal Tunnel Syndrome                           0     Miscellaneous Civil Petition
                       Diet Drugs
                       Environmental                                     O    Mental Hygiene
                       Industrial Hearing Loss
                       Silicone Implants                                Q Guardianship
                       Other:
                                                                        0 Medical Malpractice

       ❑    Ilabeas CorpusfOther Extraordinary Writ

       0 Other:



III.   JURY DEMAND: la Yes 0No
                                                                  04       12015
       CASE WILL 13E READY FOR TRIAL BY(MONTII/YEAR):


                                                                                                                                  DISABILITY? El YES
 IV. DO YOU OR ANY OF YOUR CLIENTS OR WITNESSES IN THIS CASE REQUIRE SPECIAL ACCOMMODATIONS DUE TO A
     VINO
         IF YES,PLEASE SPECIFY:

                  1 Wheelchair accessible hearing room and other facilities
            8       Interpreter or other auxiliary aid for the hearing impaired
                    Reader or other auxiliary aid for the visually impaired
                    Spokesperson or other auxiliary aid for the speech impaired
                   Other:



 Attomey Name: M ICHAEL a                 WEIKLE                                                              Representing:

 Firm: WEIKLE LAW FIRM                                                                                       gi Plaintiff ['Defendant
 Address:51 G IBSO N CT, TIFFI N,OH 44883                                                                    0 Cross-Complainant 0Cross-Defendant

 Telephone: 734-358-1876
 Dated: MARCH 16, 2018


                                                                                                                 Signature

0 Proceeding Without an Attorney




 SCA-C 100.02 / 2 of 2
    Case 2:18-cv-01216 Document 1-3 Filed 08/08/18 Page 4 of 22 PageID #: 36




                               KANAWHA CO twit Clak
                                 CHARLEST S N,%VIM'    RRGINIA
                                                          IT COURT


                                         NI8 MLR I        3: 55

JULIA E. BLACKWOOD                                       CASE     NUMBER                     3n
1503 Hunter Drive
Charleston, WV 25311

                  Plaintiff,

                                vs.
                                                         JUDGE            )•}`e-




BERRY DUNN,LLC
Corporation Service Company
209 W. Washington St.,
Charleston, WV 25302,

NICOLE Y.BECNEL,
16 Cactus Lane,
Hurricane, WV 25526, and

JANE DOE(S)

             Defendants.

                                          COMPLAINT
                                                                                wood")states as
              For her complaint, the Plaintiff Julia E. Blackwood ("Ms. Black

       follows:
                                                                                     Dunn, LLC
              1.        Ms. Blackwood was previously employed by the Defendant Berry

      ("Berry Dunn").
                                                                                     16, 2017,
              2.        Ms. Blackwood was born on September 30, 1971 and as of March

       Ms. Blackwood was 45 years old.
                                                                                            ood
              3.        On or about March 16, 2017, Berry Dunn wrongfully terminated Blackw
                                                                     a   pretext for her dismissal for
       from her employment on false claims of sleeping on the job as
                                                                                                  /
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 reasons of her age in violation of well settled public public policy in West Virginia which

  prohibits termination from employment on the basis of the employee's age.

            4.     At all relevant times, Ms. Blackwood was employed by Berry Dunn► as a Senior

  Consultant.

            5.     Prior to the wheels being set in motion for her wrongful, Ms. Blackwood
                                                                                           project
  received satisfactory or better employee performance evaluations from the Barry Dunn

  managers or project supervisory personnel with whom Ms. Blackwood worked as a Senior

  Consultant on various client projects awarded Berry Dunn.

            6.     During her initial employment, Ms. Blackwood responsibilities with raising her
                                                                            or       d
  children prevented her from requesting job assignments requiring overnight extende

  travel.

            7.     With her youngest son reaching adolescence, in early 2017, Ms. Blackwood
                                                                                      and desired
  made it known to her project managers at Berry Dunn she was available to accept
                                                                                   lucrative client
  project assignments assisting the project managers assigned to the larger more
                                                                              the time.
  projects that often required extensive overnight travel as much as 50% of

             8.    Ms. Blackwood sought these assignments as they provided greater
                                                                                paid and increased
  opportunities for increased wages from the performance and travel bonuses

  opportunity for advancements.

             9.     At all relevant times, Ms. Becnel was Charleston's Berry Dunn Manager and
                                                                                 rs and the senior
   the Charleston manager responsible for assigning projects to project manage

   consultants.

             10.    Ms. Blackwood was encouraged by the project managers to set up a meeting
                                                                               by the project
   with Ms. Becnel to formally discuss her desire to obtain these appointments
                                                                            hard work ethic.
   managers assigned to the project and familiar with her performance and
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         11.     When Ms, Blackwood was able to discuss the assignments with Ms. Becnel,

  Ms. Becnel would direct her back to the project managers.

         12,     Ms. Blackwood soon realized the lucrative Senior Consultant assignments

  were being assigned by Ms. Becnel at private informal meetings informally arranged by Ms.

  Becnel behind closed doors(where official policy was open door management) where
                                                                                              office.
  attendance was limited to Ms. Becnel's close personal friends and confidants within the

         13.     Inasmuch as these meetings were informal and attended at the quiet invitation

  of Ms. Becnel and held behind closed doors (in an office with an official open-door
                                                                               of the more
  management policy), Ms. Blackwood would first became aware of the assignment
                                                                                           e
  lucrative projects after they had been assigned to the Senior Consultants in the exclusiv
                                                                                      other
  group of close personal friends and confidants of Ms. Beene' often referred to by

  employees in the office as the "Mean Girls."

         14.     Ms. Blackwood took the step of informing one of Ms. Becnel's closest friends
                                                                          her(Ms.
  and Mean Girl member that she wanted to meet with Ms. Becnel to discuss

  Blackwood's) future contract assignments.

          15.    Ms. Becnel did not meet with Ms. Blackwood as requested.

          16.    Prior to her hiring by Berry Dunn as a Senior Consultant, Ms. Blackwood

  worked for Berry Dunn as a contract employee.
                                                                                               was
          1 7.   During her work for Berry Dunn as a contract employee, Ms. Blackwood
                                                                                   at a July 2015
  advised a complaint regarding her had been received that she had fallen asleep
                                                                              of   West Virginia.
  from Berry Dunn's largest customer in the State of West Virginia, the State
                                                                                                  the
          18.     No person was specifically identified as making the complaint, however, at
                                                                            time seeking
   time, one of the West Virginia employees at this meeting was at the same
                                                                        was also seeking
   employment with Berry Dunn as a Senior Consultant when Ms. Blackwood
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 a change in her status with Berry Dunn from a contract employee to full time employee and

 Senior Consultant,

         19.    Ms, Blackwood was not informed of the source of the complaint and informed
                                                                                           g as she
 Berry Dunn there was no reason that she would have fallen asleep during the meetin

  was not fatigued.

         20.     The claimed sleeping incident notwithstanding, Ms. Blackwood was later
                                                                                Consultant on
  offered and accepted full-time employment with Berry Dunn as a Senior

  February 25, 2016 with her employment to start on April 5, 2016.
                                                                                           had
         21.     Ms. Blackwood subsequently requested information on the hours she
                                                                              Berry Dunn billed the
  worked and allocation of her time between non-billable time and time
                                                                    Berry Dunn's consulting
  State of West Virginia for the time spent by Ms. Blackwood on the
                                                                     .
  contracts with the State of West Virginia Ms. Blackwood had worked
                                                                                      might have
         22.     Ms. Blackwood reported to Berry Dunn she was concerned she
                                                                         been billed to the State of
  made a coding error on her time sheet and unbillable time may have

  West Virginia.
                                                                                       incorrectly
         23.       Ms. Blackwood requested this information to verify she had not
                                                                              of West Virginia.
  coded certain of her non-billable time to be billed in error to the State
                                                                                         any billing
          24.      Ms. Blackwood was instructed by Berry Dunn not to worry about

  error as it did not matter.
                                                                                            m
          25.      Ms. Blackwood was further informed she would not be able to confir
                                                                        the State of West Virginia.
   whether or not her non-billable time had been over or under billed
                                                                                    consultants
          26.      It was further explained to Ms. Blackwood the hours Berry Dunn's
                                                                  manager who allocates the hours
   record in a given time period are submitted to a Berry Dunn
                                                                  ing contract to an unrelated State
   recorded by the Berry Dunn consultants on one State consult
                                                                     on any single State contract.
   contract(s) as necessary for Berry Dunn to avoid a financial loss
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         27.     Ms. Blackwood did not understand how time billed could be transferred from

 one State contract and charged to an unrelated contract without the unrelated contract being

 charged for unrelated work eventually becoming fully charged out prior to its completion.

         28.    It was then explained to Ms. Blackwood Berry Dunn routinely pads each State

 of West Virginia consulting project/contract with ten percent additional consulting hours than

  determined necessary by Berry Dunn to complete a specific State consulting project/contract.

         29.    It was around the same time period Ms. Blackwood became increasingly aware
                                                                                           on
  of information being discussed in the office regarding the lavish spending by Ms. Becnel

  intimate dinners and events she privately hosted for the State employee assigned with
                                                                                          contract
  oversight responsibility on the Berry Dunn State consulting contracts and approval of

  payments billed by Berry Dunn.

         30.     On information and belief subsequent to Ms. Blackwood's initiation of
                                                                                   rather than
  questions regarding Berry Dunn's state contract billing practices, Ms. Becnel,
                                                                                    Blackwood
  meeting with Ms. Blackwood to discuss her future contract assignments as Ms.
                                                                                    nt, invasion of
  requested, initiated an internal campaign of discrimination, intentional harassme

  privacy and defamation of Ms. Blackwood.
                                                                                                 her
         31.     On March 16, 2017, Ms. Becknel met with Ms. Blackwood and informed
                                                                              concocted
  employment with Berry Dunn had been terminated on the pretextual and wholly
                                                                              s as     an employee
  claim Ms. Blackwood had fallen asleep on the job on three separate occasion

  of Berry Dunn.

          32.    In connection with Ms. Becnel efforts to create a pretextual basis for the
                                                                              and belief, Ms.
  termination of Ms. Blackwood's Berry Dunn employment, on information
                                                                        with certain
   Becnel discussed Ms. Blackwood's confidential employment information

   members of the Mean Girls group.
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        33.     Ms. Blackwood was not aware Ms. Becnel was plotting a campaign of

 defamation of Ms. Blackwood's job performance with certain members of the Mean Girls
                                                                                         ants
 whose loyalty and confidence had been secured with their appointments as Senior Consult

 on the most lucrative of Berry Dunn's consulting contracts.

        34.     On information and belief, Ms. Becnel enlisted certain of the Mean Girls
                                                                                       work.
 directed them to secretly observe Julie and report back if Julie did fall asleep at

         35.    On information and belief Ms. Becnel violated Ms. Blackwood's right to
                                                                              nt(s)) to
  privacy in directing certain Mean Girl members(the unknown Jane Doe Defenda

  secretly take photos of Ms. Blackwood sleeping at work.
                                                                                                ood
         36.    On information and belief, having failed in their effort to find Ms. Blackw
                                                                               (the unknown
  sleeping on the job, on a single occasion, certain members of the Mean Girls
                                                                      briefly closed her
  Jane Doe defendant(s)) secretly photographed Ms. Blackwood when she

  eyes while on her personal lunch break.
                                                                                         while on
         37.     Ms. Blackwood was not aware she had been secretly photographed

  the Berry Dunn premises .
                                                                                     being
         38.     Ms. Blackwood was never asked by Berry Dunn to consent to her photo

  taken at any time.
                                                                              refused.
         39.     If such consent had been requested, Ms. Blackwood would have
                                                                                     by
         40.     Ms. Blackwood had no reason to expect her photo would ever be taken

   Berry Dunn without her consent.
                                                                               nally
         41.     The unwarranted invasion of Ms. Blackwood's privacy is additio
                                                                          was on her own time
   reprehensible because the photo's were taken when Ms. Blackwood

   which she was allowed for breaks and a lunch period.
                                                                                               ment
          42.    On the next day following Ms. Blackwood being informed her employ
                                                                              2017 from Berry
   was being terminated, Ms. Blackwood received an email date March 17,
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  Dunn's Director of Human Resources, Debra Genender,(office located in Portland, ME),

  which in relevant part, stated:

          "You are being given 3 week's severance, so you will see 8
          hours for yesterday, your accrued vacation time (55 hours) and
          3 weeks of severance that will all be paid in the final check."

          43.    With this email, Ms. Genender included an attachment in which Berry Dunn

  detailed the final paycheck Ms. Blackwood would receive from Berry Dunn on March 31,

  2017.

          44.    The email attachment revealed a calculation by Berry Dunn of the three weeks
                                                                                     by
  severance payment Ms. Blackwood was unconditionally promised she was "being given"

  Berry Dunn in the amount of $4,038.46.

          45.     Ms. Blackwood relied on this promised payment in making purchases and
                                                                                     payment
  committing to making other payments in the approximate amount of the severance

  she was "being given" by Berry Dunn without condition.

           46.    Upon learning Ms. Blackwood had retained counsel in connection with her
                                                                           promised by
  termination from employment, Berry Dunn refused to pay Ms. Blackwood was

  Berry Dunn she was "being given" without condition.

           47.    Berry Dunn informed Ms. Blackwood it would not pay the severance payment
                                                                                Berry Dunn from
   unconditionally promised unless she signed a severance agreement releasing
                                                                                             ent.
   any and all claims and placing unduly restrictive conditions on her finding other employm

           48.    At the time Berry Dunn refused to pay Ms. Blackwood the severance payment
                                                                              Berry     Dunn
   she had been unconditionally promised she was "being given" by Berry Dunn,
                                                                             earner       for her
   and Ms. Beene] were completely advised Ms. Blackwood was the primary wage
                                                                                hardship    on
   family and her termination from employment would cause substantial financial

   Ms. Blackwood,
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         49.     In placing conditions on their unconditional promise of payment, Berry Dunn

  and Ms. Becnel intentionally and or negligently caused Ms. Blackwood substantial emotional

  distress accompanied by physical injury.

          50.    Berry Dunn attempted to leverage Ms. Blackwood's financial and emotional

  distress to force Ms. Blackwood to release her legitimate claims against Berry Dunn for
                                                                                               of
   unlawful termination from employment; breach of promise; breach of contract and breach
                                                                                        n of
   the related claim breach of the covenant of good faith; defamation; unlawful invasio

   privacy; harassment; intentional and/or negligent infliction of emotional distress(Ms.
                                                                                time Berry Dunn
   Blackwood was not yet aware of the unlawful invasion of her privacy at the
                                                                                 t on her signing
   first conditioned payment of the unconditionally promised severance paymen

   a severance agreement).

          51.     Berry Dunn attempted to leverage Ms. Blackwood's financial and emotional
                                                                              Becnel for unlawful
   distress to force Ms. Blackwood to release her lawful claims against Ms.
                                                                                   nt infliction of
   termination of her employment; aiding and abetting; intentional and/or neglige
                                                                    .
   emotional distress; defamation; and unlawful invasion of privacy
                                                                                               al
          52.     Berry Dunn attempted to leverage Ms. Blackwood's financial and emotion
                                                                                 n defendants Jane
   distress to force Ms. Blackwood to release her lawful claims against unknow
                                                                         nt infliction of emotional
   Doe(s) for defamation, aiding and abetting, intentional and/or neglige

   distress and unlawful invasion of privacy.
                                                                                               Berry
           53.     Ms. Blackwood was not aware she had been defamed by Ms. Becnel and
                                                                            Dunn and the unknown
    Dunn and her right of privacy had been violated by Ms. Becnel, Berry
                                                                      by Ms. Blackwood's
    Jane Doe defendants until a letter dated May 2, 2017 was received
                                                                     Blackwood       during her
    counsel from Berry Dunn's counsel which included 2 photos of Ms.

    personal lunch break taken by unknown defendant(s) Jane Doe(s).
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              54.    A second letter from Berry Dunn's counsel dated May 5, 2017 was received by

      Ms. Blackwood's counsel in which Berry Dunn's counsel made the following statement on

       behalf of Berry Dunn with regard to the Blackwood photos:

              Because we will be required to defend the claims, the pictures showing that
              Ms. Blackwood fell asleep while working will end up as evidence in the
              public record of this case. Quite frankly,l am not sure why anyone looking
              for a job would want pictures of herself sleeping on the job in the public
              record, taking the risk that the media covering the case will find them and
              report on them, It seems to me that it would be in Ms. Blackwood's interest
              to execute the separation agreement that she has been offered, so both
              parties can move forward.

              55.    Berry Dunn attempted to leverage the threat of publication of the unconsented
                                                                                              ion
       photos taken of Ms. Blackwood with the known negative consequences such publicat
                                                                                        Ms. Blackwood
       would have on Ms. Blackwood's efforts to secure new employment in forcing
                                                                                          nts and the
       to sign a severance agreement releasing all her claims against the named defenda

       unknown Jane Doe(s) defendant(s).

                                      PRAYER FOR RELIEF

                                                                                 herein; and prays for
       Wherefore, Ms. Blackwood requests a jury trial of the matters set forth
                                                                        the Jury against(1) Berry
an award of compensatory and other allowed damages as determined by
                                                                      Act for late payment of
Dunn for violations of West Virginia's Wage Payment and Collection
                                                                               ry Damages in the
amounts paid and failure to pay all amounts due Ms. Blackwood; (2) Moneta
                                                                     several liability against the
approximate amount of $1,000,000 and determination ofjoint and/or
                                                                     Blackwood's claims for
named defendants and the unknown Jane Doe(s) defendant(s) on Ms.
                                                           n of     Privacy;(b)Breach of Promise;
(a)Wrongful Termination of Employment;(b) Unlawful Invasio
                                                                  related   covenant of good faith and
(c) Detrimental Reliance;(d) Breach of Contract and breach of the
                                                                        anying physical injury;
fair dealing;(e)Intentional Infliction of Emotional Distress with accomp
                                                                   Abetting.
(f) Negligent Infliction of Emotional Distress; and (g) Aiding and
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        Ms. Blackwood further prays for an award of punitive damages against all named defendants
                                                                                            ful
and the unknown Jane Doe(s) Defendant(s) as determined by the jury on her claims of(a)Wrong

Termination of Employment;(b) Unlawful Invasion of Privacy;(b) Breach of Promise;
                                                                                                   and
(c)Detrimental Reliance;(d) Breach of Contract and breach of the related covenant of good faith

fair dealing;(e) Intentional Infliction of Emotional Distress with accompanying physical injury;

(f) Negligent Infliction of Emotional Distress; and (e) Aiding and Abetting.

 Respectfully filed this 16h Day of March,2018




 Mic ael D. Weikle (West Virginia B      o. 4982)
 51 G son Court Tiffin, OH 4883
 mikeweikle@weiklelaw.com
 734-358-1876
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                            KANAWHA COUNTY CIRCUIT COURT
                              CHARLES1p1,tElyIRGINIA


                                                        55
                                                   ,t. :
                                      Z918 Mitil 143
JULIA E. BLACKWOOD                                   .••   CASE NUMBER
1503 Hunter Drive
Charleston, WV 25311

               Plaintiff,
                                                           JUDGE                 \--C
                                                                      li\.Y•e a. '
                             vs.




BERRY DUNN,LLC
Corporation Service Company
209 W. Washington St.,
Charleston, WV 25302,

NICOLE V. BECNEL,
16 Cactus Lane,
Hurricane, WV 25526, and

J ANE DOE(S)

             Defendants.

                      MOTION TO FILE COMPLAINT UNDER SEAL

                                                                                ood ("Ms.
              Pursuant to Trial Court Rule 10.01, the Plaintiff Julia E. Blackw

       Blackwood") respectfully
                                                                                  Dunn, LLC
              1.     Ms. Blackwood was previously employed by the Defendant Berry

      ("Berry Dunn").
                                                                                  upon learning
             2.      Following her termination from employment on March 16, 2017,
                                                                         tion from employment,
       Ms. Blackwood had retained counsel in connection with her termina
                                                                     y promised Ms. Blackwood on
       Berry Dunn, refused to pay a severance payment unconditionall
                                                                     ent releasing Berry Dunn
       March 16, 2017 unless Ms. Blackwood signed a severance agreem
        Case 2:18-cv-01216 Document 1-3 Filed 08/08/18 Page 15 of 22 PageID #: 47


rr




                                                                                        tion on her
          and all defendants from any claim by Ms, Blackwood and placing unduly restric

          efforts to secure new employment.

                  3.      Ms. Blackwood refused to sign the severance agreement.

                  4.      Ms. Blackwood was not aware her right of privacy had been violated by Ms.
                                                                                       May 2, 2017
           Becnel, Berry Dunn and the unknown Jane Doe defendants until a letter dated
                                                                                   included 2
           was received by Ms. Blackwood's counsel from Berry Dunn's counsel which
                                                                            unknown defendant(s)
           photos of Ms. Blackwood during her personal lunch break taken by

           Jane Doe(s).
                                                                                          received by
                  5.      A second letter from Berry Dunn's counsel dated May 5, 2017 was
                                                                          following statement on
           Ms. Blackwood's counsel in which Berry Dunn's counsel made the
                                                                    :
           behalf of Berry Dunn with regard to the Blackwood photos
                                                                                          s showing
                       Because we will be required to defend the claims, the picture
                                                                                        as evidence
                       that Ms. Blackwood fell asleep while working will end up
                                                                                     not sure why
                       in the public record of this case. Quite frankly, I am
                                                          want   pictur es of  hersel f sleeping on
                       anyone looking for a job would
                                                                     that  the media   covering the
                       the job in the public record, taking the risk
                                                                            to me  that  it would be
                       case will find them and report on them. It seems
                                                                                    agreem   ent that
                       in Ms. Blackwood's interest to execute the separation
                       she has been offered, so both parties can move forward.
                                                                      sealing the Complaint and         all
            Accordingly, Ms. Blackwood prays the Court enter an order
                                                                that Berry Dunn and Ms. Blackwood believe
     subsequently filed documents to prevent the news media
                                                                and other sensitive information expected to
     will be interested in this case from publishing any photos
                                                            of this     action from being pubished or
     filed by Berry Dunn and/or Ms. Blackwood in the course
                                                       further embarrassment and        emotional distress to
     otherwise transmitted by the news media and cause
    Case 2:18-cv-01216 Document 1-3 Filed 08/08/18 Page 16 of 22 PageID #: 48




Ms. Blackwood and potentially frustrate Ms. Blackwood's continuing and year long efforts to secure

comparable employment and mitigate her claimed damages from lost wages against Berry Dunn.

Respectfully filed this 16' Day of March, 2018




MichaeI.D Weikle (West Virginia Bar No. 4982)
5 I Gibson Court Tiffin, OH 4883
mikeweikle@weilsielaw,com
734-358-1876




 IT IS SO ORDERED this         day of March, 2018




J udge
Case 2:18-cv-01216 Document 1-3 Filed 08/08/18 Page 17 of 22 PageID #: 49




                                                                                    VIRGINIA
                    IN THE CIRCUIT COURT OF KANAVVHA COUNTY, WEST
                                                                                                        Afil
                                                                                               14C
    Julie) 1 1001<vvocci                       Plaintiff
     v.
                                                                     Civil Action No.   11 4`t4 I,
                                                                                              C(244,7 6,
                                                                                                                ,
                                                                                                            ye4ou

     Berry nt       1 LC.                      Defendant.                                                              otf:-
     N i CQIe Bccnni
                                 NOTICE AND ACKNOWLEDGMENT
                                                               1sT CLASS MAIL
                        OF RECEIPT OF SUMMONS AND COMPLAINT BY
                                                                                                         I fats this i3 day of
                                                                                                                           4.1
                                                                                      s 3r 4certify that20.1allt
                                                                                    l,1
     TO:    Nionle Retne I                                                                                      ,mailed a copy of the
                                                                                    within summons and complaint In an envelope
               eDaiti5 1 ry                                                         properly,opldrosse!py
                                                                                              It L
                                                                                     mall to;\L
                                                                                                         t stanRil by first dews

            Hon tioonP, vvv_c215Bas                                                 lib rifritrc ln                    'OxyariV
                                                                                                                         I1tVAIi)
                                                                                                                                f
                                                                 nt to Rule 4(d)(1)(                   of
            The enclosed summons and complaint are served pursua                                             Deputy Clerk
     West Virginia Rules of Civil Procedure.
                                                                    form and return one copy of the
             You must complete the acknowledgment part of this
             ted form to the Office of the Clerk of the Circuit Court of Kanawha County within 20 days.
      comple
                                                                    you are served on behalf of a
              You must sign and date the acknowledgment. If
              tion, unincor porated associa tion (includ ing a partnership), or other entity, you must
      corpora
                                                            that entity. If you are served on behalf of
      indicate under your signature your relationship to
                                                 to receive  process, you must indicate under your
      another person and you are authorized
      signature  your authori ty.
                                                                Office of the Clerk of the Circuit Court
             If you do not complete and return the form to the
                ha County  within 20 days, you (or the party on whose behalf you are being served)
      of Kanaw
                                                         serving a summons and complaint in any
      may be required to pay any expenses incurred in
      other manner permitted by law.
                                                                    party on whose behalf you are being
             If you do complete and return this form, you (or the
                                                  20 days.  If you fail to do so,judgment be default will
      served) must answer the complaint within                      nt.
                against you for the relief deman ded in the complai
      be taken
                                                                           of Summons and
                 I declare that this No.tgie of Ackrioedgmit24 Receipt
          Compla int was mailed on 01*           I         )IO
                                                                       Cathy S. GatRon,Clerk
                                                                Cathy S. Gatson, Clerk
                                                                Kanawha County Circuit Court

                                                               By:
                                                                     Deputy Clerk


                                                                 Date of Signature
Case 2:18-cv-01216 Document 1-3 Filed 08/08/18 Page 18 of 22 PageID #: 50



                                          WE                                                ST VIRGINIA
                          KANAWHA 60UNTY,
          CIRCUIT COURT OF
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       attorney, whose add                                                                                           in the
                                                                                         complaintfiled against you
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                              ing any
        an answer, Includ                                                                      . You are required to serve
                                                                      herewith dellveredto you
               sty led civi l act ion , 'cs true copy((which is
        above                                                                                       exclusive(erne day of
                                                                                summons upon you,
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      • your answer    wit                                                                                       anded in the,
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         complaint and you
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          which mustbe assert


         Data:     -7/1 /13.                                                          CathCf S. G5Ison, Clerk                    ,
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                                                                                     ca- vv) Deputy Clert
Case 2:18-cv-01216 Document 1-3 Filed 08/08/18 Page 19 of 22 PageID #: 51



                                                      1,400 A 6                 COUNTY,WEST
      IN TileCIRCUIT COURT OF
                                        CIVIL CASE INFORMATION STA
                                                                           TEMENT
                                                                         Relations)
                                                                                              1018 ,,
                                        (Civil Cases Other than Domestic                          ‘icit
                                                                    Case No.             e. 411044422.
  I. CASE STYLE:                                                                                               C4    •
                                                                      Judge:                                         l
  Plaintiff(s)                                                                                                      COL;
           ffri                 af1C-     le9pocj


      (2-A 446.05•-rzn                                      Days to
  VS.                                                                    Type of Service
                                                            Answer
  Defendants)                                                                            CAA         C44.
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      /111 C.                                 4 5L-
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  Name
  _f_tree     ss Acr144
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       TYPE OF CASE:
                                                                                 0 Adoption
       111? eral Civil
       Watn                                                                      0 Administrative Agency Appeal ••-• •
                                            . 26.04(a)]
       0 Mass Litigation[As denied in T.C.R                                      ❑ Civil Appeal from Magistrate Court
           0 Asbestos                                                            0Miscellaneous Civil Petition
             o
             FELA Asbestos                                                       0 Mental Hygiene
           0 Other.                                                              0Guardianchip
                                             Writ
       0Habeas Corpus/Other Extraordinary                                           MedicalMalpractice
             Other:
                                                                                               h/Year):
                          CI No                    CASE WILL BE READY FOR TRIAL BY(Mont
    IIL JURY DEMAND: 0Yes
                           IF YES,PLEASE SPECIFY:
    IV. DO YOU OR ANY                                                     other facilites
        OF YOUR CTIFNTS    0Wheelchair accessible heating room and
                                      or other auxil iary aid for the visua lly impaired
        OR WITNESSES       0Reader
                                                                         deaf and hard of hearing
        IN THIS CASE       0Interpreter or other auxiliary aid for the
                                                                                    h impaired
        REQUIRE SPECIAL [     J Spokesperson or other auxiliary aid for the speec
                   TIO NS?                                             langu age:
        ACCOM7A             ❑ Foreign language interpreter-specify
         0Yes               No              0Other:

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     Attorney Name:      /e,.i//5
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                                                                E Plaintiff          0Defendant
     Firm:                                                      0 Cross-Defendant 0Cross-Complainant
     Address:            se3-si/v/ dcw-a r --7tr-rr mij
                        /.                                         3rd-Party Plaintiff03rd-Party Defendant
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                                         .              91Y$$-5
     Telephone: --/c./y--as"
                                     ney
     0Proceeding Without an Attor

      Original and          I    copies of complaint enclosed/an%
                                   / 6                Signature: .e--64
                                                                 .
      Dge& 6 , 5 /4
                                                                                                  Revision Date: 12/2015
                                       n Statement(Other titan-Domestic Relations)
      SCA-C-I00: Civil Case Informatio
Case 2:18-cv-01216 Document 1-3 Filed 08/08/18 Page 20 of 22 PageID #: 52


                                                         ,et al     Case Number:
 Plaintiff
 vs.                                                     ,et at
 Defendant:
                                                       ON STATEMENT
                              CIVIL CASE INFORMATI  TIN UATION PACE
                               DE FEN DAN T(S ) CON


  Defendant's Warne
                                                     Daii to Ao-sWer:
  Street Address
                                                     Type ofService:
   City, State, Zip Code


   Defendant's Name
                                                     Days to Answer:
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   City, State, Zip Code


   Defendant's Name
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                    sine
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     Defendants Name
                                                        Days to Answer:
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      City, State,Zip Code


      befeaclaars Name
                                                        Days to Answer:
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       City, State,Zip Code


       Defendant's Name
                                                         Days to Answer:
       Street Address
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       city, State,Zip Code                                                         Revision Date: 12/2015
                                                                Continuation Page
                                 rmation Statement-Defendant(s)
      SCA-C-100: Civil Case Info
     Case 2:18-cv-01216 Document 1-3 Filed 08/08/18 Page 21 of 22 PageID #: 53




                                                               A COUNTY, WESTNIRGINIA
              IN THE CIRCUIT COURT OF KANAWH
                                                                     Z[118 AUG - I PM 1: 18
Julia Eslookvvcod                               Plaintiff
                                                                   A"P80 5‘bOlifici    69-u8b-P -3?33
v.

               .
Perry Donn,1 LC,                                Defendant.
N ►e.de, Bezrd
                             NOTICE AND ACKNOWLEDGMENT
                                              COMPLAI NT BY 157 CLAS S MAIL
                    OF RECEIPT OF SUMMONS AND

TO: NiOet            Betnti
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      Murr inefr i11\N
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                                                            nt are served pursuant to Rule 4(d)
         The enclosed summons and complai
                                              ure.
 West Virginia Rules of Civil Proced
                                                                                               one copy of the
                                                   ledgment part of this form and return
          You must complete the acknow                                       of Kan awh   a Cou  nty within 20 days.
                     to  the Offi ce  of the   Cle rk   of the Circuit Court
 completed form
                                                                                              behalf of a
                                                    nowledgment. If you are served on
          You must sign and date the ack                                           or other entity, you must
                       corp ora ted  ass   ociation (including a partnership),
 corp  orat ion, unin                                                                are served on behalf of
                    you  r sign atur e you  r relationship to that entity. If you
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     othe r per son  and   you  are   authorized to receive process, you
 an
  signature your authority.
                                                                                            rk of the Circuit Court
                                                    rn the form to the Office of the Cle
           If you do not complete and retu                                       beh alf you  are being served)
                                        days, you (or the party on whose
  of Kanawha County within 20                                                    mon  s  and  com  plaint in any
                                           enses incurred in serving a sum
  may be required to pay any exp
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  other manner permitted by law
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            If you  do  com                                                                    ment be default will
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   served) mus
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   be taken against you for the relie
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                                                     rto.ledgyReceipt of Sum
            I declare that this No e of Ack
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   Complaint was mailed on UL


                                                                   Cathy S. Gatson, Clerk
                                                                   Kanawha County Circuit Court

                                                                   (
                                                                  By:      .
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                                                                         ."
                                                                      Deputy Clerk


                                                                     Date of Signature
  Case 2:18-cv-01216 Document 1-3 Filed 08/08/18 Page 22 of 22 PageID #: 54




                                                            MONS AND COMPLAINT             3
           ACKNOWLEDGMENT OF RECEIPT OF SUM
                                                                                   A UG - INPfl I: 8
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                                                   received a copy of the summons and of
       I declare, under penalty of perjury, that I                         K AtIAMIA
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                                               Signature
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